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  ORLANDO FLETES-LOPEZ
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 7
                          IN THE UNITED STATES DISTRICT COURT
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 9
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
12UNITED STATES OF AMERICA,           )                CASE NO. 2:11-cr-00096-JAM
                                      )
13      Plaintiff,                    )                STIPULATION AND
                                      )                ORDER
14                  v.                )
                                      )                DATE: March 5, 2013
15ORLANDO FLETES-LOPEZ,               )                TIME: 9:45 a.m.
                                      )                COURT: Hon. John A. Mendez
16      Defendant.                    )
  ____________________________________)
17
18       IT IS HEREBY STIPULATED by and between the parties hereto through their respective
19counsel, Michael Beckwith and Paul Hemesath, Assistant United States Attorneys, attorneys for
20plaintiff, and Tim A. Pori, attorney for defendant Orlando Fletes-Lopez that the
21previously-noticed hearing date of March 5, 2013, be vacated and the matter re-scheduled for
22April 30, 2013, at 9:45 a.m. The parties further request that the Court order the government’s
23response be due on April 16, 2013, and the defendant’s reply, if any, be due on April 23, 2013.
24       This request is made jointly by the government and defense.
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28                                                1
            Case 2:11-cr-00096-DC Document 156 Filed 02/27/13 Page 2 of 2


 1
  Dated: February 27, 2013
 2
                                                       /s/ Paul Hemesath (Authorized 2/27/2013)
 3                                                     Paul Hemesath
                                                       Assistant United States Attorney
 4                                                     Counsel for Plaintiff
 5
 6Dated: February 27, 2013
 7                                                     /s/ Tim A. Pori
                                                       TIM A. PORI
 8                                                     Attorney for Defendant
                                                       ORLANDO FLETES-LOPEZ
 9
10
                                               ORDER
11
          Having received, read, and considered the stipulation of the parties, and good cause
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  appearing therefrom, the Court orders that the hearing currently noticed for March 5, 2013, shall
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  be re-scheduled for April 30, 2013. It is further ordered that the governments response to
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  defendant’s motion shall be filed no later than April 16, 2013 and defendant’s reply, if any, shall
15
  be filed no later than April 23, 2013.
16
17Dated: 2/27/2013
18                                              /s/ John A. Mendez
                                                Hon. John A. Mendez
19                                              United States District Court Judge
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